       Case 9:17-cr-00030-DWM Document 15 Filed 09/19/17 Page 1 of 1

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                            MJ 17-44-M-JCL
                      Plaintiff,
                                                           ORDER
        vs.


 HUGH SHAWGO,

                      Defendant.




      Counsel for Defendant Hugh Shawgo has filed an unopposed motion

requesting the Court vacate the preliminary hearing currently set for September

19, 2017, at 10:00 a.m.

      IT IS HEREBY ORDERED that the motion is GRANTED and the

preliminary hearing currently set for September 19, 2017 at 10:00 a.m. is

VACATED.

              DATED this 19th day of September, 2017.


                                            Jeremiah C. Lynch
                                            United States Magistrate Judge




                                        1
